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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

                                               :
UNITED STATES OF AMERICA                       :       Case No.: 21-CR-451 (CJN)
                                               :
          v.                                   :       40 U.S.C. § 5104(e)(2)(D)
                                               :
SUZANNE IANNI,                                 :
                                               :
          Defendant.                           :
                                               :

                                  STATEMENT OF OFFENSE

          Pursuant to Fed. R. Crim. P. 11, the United States of America, by and through its attorney,

the United States Attorney for the District of Columbia, and the defendant, SUZANNE IANNI,

with the concurrence of her attorney, agree and stipulate to the below factual basis for the

defendant’s guilty plea—that is, if this case were to proceed to trial, the parties stipulate that the

United States could prove the below facts beyond a reasonable doubt:

                         The Attack at the U.S. Capitol on January 6, 2021

          1.      The U.S. Capitol, which is located at First Street, SE, in Washington, D.C., is

secured twenty-four hours a day by U.S. Capitol Police (USCP). Restrictions around the Capitol

include permanent and temporary security barriers and posts manned by USCP. Only authorized

people with appropriate identification are allowed access inside the Capitol.

          2.      On January 6, 2021, the exterior plaza of the Capitol was closed to members of the

public.

          3.      On January 6, 2021, a joint session of the United States Congress convened at the

Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session, elected

members of the United States House of Representatives and the United States Senate were meeting

in separate chambers of the Capitol to certify the vote count of the Electoral College of the 2020

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Presidential Election, which had taken place on Tuesday, November 3, 2020. The joint session

began at approximately 1:00 PM. Shortly thereafter, by approximately 1:30 PM, the House and

Senate adjourned to separate chambers to resolve a particular objection. Vice President Mike

Pence was present and presiding, first in the joint session, and then in the Senate chamber.

        4.      As the proceedings continued in both the House and the Senate, and with Vice

President Pence present and presiding over the Senate, a large crowd gathered outside the Capitol.

Temporary and permanent barricades, as noted above, were in place around the exterior of the

Capitol, and USCP officers were present and attempting to keep the crowd away from the Capitol

and the proceedings underway inside.

        5.      At approximately 2:00 PM, certain individuals in the crowd forced their way

through, up, and over the barricades. Officers of the USCP were forced to retreat and the crowd

advanced to the exterior façade of the building. The crowd was not lawfully authorized to enter or

remain in the building and, prior to entering the building, no members of the crowd submitted to

security screenings or weapons checks as required by USCP officers or other authorized security

officials.

        6.      At such time, the certification proceedings were still underway, and the exterior

doors and windows of the Capitol were locked or otherwise secured. Members of the USCP

attempted to maintain order and keep the crowd from entering the Capitol; however, shortly after

2:00 PM, individuals in the crowd forced entry into the Capitol, including by breaking windows

and by assaulting members of law enforcement, as others in the crowd encouraged and assisted

those acts. The riot resulted in substantial damage to the Capitol, requiring the expenditure of more

than $1.4 million dollars for repairs.




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       7.      Shortly thereafter, at approximately 2:20 PM, members of the House of

Representatives and of the Senate, including the President of the Senate, Vice President Pence,

were instructed to—and did—evacuate the chambers. Accordingly, all proceedings of the United

States Congress, including the joint session, were effectively suspended until shortly after 8:00

PM on January 6, 2021. In light of the dangerous circumstances caused by the unlawful entry to

the Capitol—including the danger posed by individuals who had entered the Capitol without any

security screening or weapons check—Congressional proceedings could not resume until after

every unauthorized occupant had been removed from or left the Capitol, and USCP confirmed that

the building was secured. The proceedings resumed at approximately 8:00 PM after the building

had been secured. Vice President Pence remained in the Capitol from the time he was evacuated

from the Senate Chamber until the session resumed.

               Suzanne Ianni’s Participation in the January 6, 2021, Capitol Riot

       8.      The defendant, SUZANNE IANNI, lives in Natick, Massachusetts. On January 5,

2021, the defendant traveled from Boston to Washington, D.C., via bus, with Mark Sahady and

other members of the self-proclaimed “Super Happy Fun America” organization. The purpose of

the defendant’s trip to Washington, D.C., was to protest Congress’ certification of the Electoral

College.

       9.      Before January 6, 2021, SUZANNE IANNI acted as the contact person for and

organizer of bus transportation from Boston, Massachusetts, to Washington, D.C. for members of

“Super Happy Fun America” to transport other members to protest Congress’ certification of the

Electoral College.

       10.     On January 6, the defendant marched to the Capitol with other protestors.




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       11.     At about 2:40 PM, the defendant was on restricted grounds, outside of the Capitol

near the Fire Door exit to the Senate Parliamentarian’s office. While there, defendant was with a

large group of people chanting and yelling, “Fight for Trump” and “our house.” At the time,

people near the defendant were forcing entry into the Capitol by breaking windows, forcing open

doors and breaching police barricades.

       12.     At about 2:45 PM, the defendant entered the Fire Door next to the Senate

Parliamentarian’s office. She proceeded into and through the Capitol, past the North Door

Appointment Desk, then back down the Brumidi Corridor, and exited out the North Door at

approximately 3:04 PM.

                                     Elements of the Offense

       13.     SUZANNE IANNI knowingly and voluntarily admits to all the elements of

Disorderly Conduct in a Capitol Building. Specifically, the defendant admits that she willfully

and knowingly entered the U.S. Capitol Building knowing that that she did not have permission to

do so. The defendant further admits that while inside the Capitol, she willfully and knowingly

uttered loud, threatening, or abusive language, or engaged in disorderly or disruptive conduct with

the intent to impede, disrupt, or disturb the orderly conduct of a session of Congress.

                                                      Respectfully submitted,

                                                      Matthew M. Graves
                                                      United States Attorney


                                              By:     ____________________________
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                        DEFENDANT’S ACKNOWLEDGMENT


       I, SUZANNE IANNI, have read this Statement of the Offense and have discussed it with
my attorney. I fully understand this Statement of the Offense. I agree and acknowledge by my
signature that this Statement of the Offense is true and accurate. I do this voluntarily and of my
own free will. No threats have been made to me nor am I under the influence of anything that could
impede my ability to understand this Statement of the Offense fully.


Date:
                                     Suzanne Ianni
                                     Defendant


                         ATTORNEY’S ACKNOWLEDGMENT


        I, Henry Fasoldt, have read this Statement of the Offense and have reviewed it with my
client, SUZANNE IANNI, fully. I concur in my client's desire to adopt this Statement of the
Offense as true and accurate.



Date:
                                     Henry Fasoldt
                                     Attorney for Defendant




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